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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-00332-PAB-SKC

  JOHN M. WELLS, individually and as trustee for the Wells Revocable Trust, and
  VALORIE WELLS, as trustee for the Wells Revocable Trust,

       Plaintiffs,

  v.

  CITY OF BOULDER, and
  NURIA RIVERA-VANDERMYDE, City Manager, City of Boulder, in her official capacity,

       Defendants.


                                         JOINT STATUS REPORT


              Plaintiffs and Defendants, by their respective undersigned counsel, pursuant to the

  Court’s Scheduling Order (Doc. 16), respectfully submit their joint status report.

       I.        Status of Discovery

              The following has occurred since the May 3, 2021 status conference: On June 4, 2021,

  Defendants served their First Supplemental Rule 26(a)(1) disclosures. On June 16, 2021,

  Defendants took the deposition of Plaintiff John M. Wells.

       II.       Status of Settlement.

              The parties have exchanged settlement offers.

       III.      Other issues

              Defendants anticipate filing a motion for summary judgment. There are no other issues

       that could potentially require a court ruling at this time.
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        Dated this 27th day of July 2021.

                                                Respectfully Submitted,



                                                s/Evan B. Stephenson
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 27th day of July 2021, a true and correct copy of the

  foregoing JOINT STATUS REPORT was furnished through the CM/ECF system to counsel of

  record appearing herein.




                                                       s/ Lisa R. Thompson
                                                       Lisa R. Thompson




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